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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
Mason Tenders District Council Welfare Fund,
et al.,

                                   Plaintiffs,
                                                                    19 CIV 7562 (AJN)

                 -against-                                   DEFAULT JUDGMENT

Shelbourne Construction Corp.,

                                Defendant.
---------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED, AND DECREED, that pursuant to the

Court’s Order dated January 8, 2021, Plaintiffs’ motion for a default judgment is granted, and for

the reasons articulated in the Court’s November 30, 2020 Memorandum Opinion and Order, Dkt.

No. 19, judgment is entered as follows:


     1. In favor of Plaintiffs Mason Tenders District Council Welfare Fund; Mason Tenders

        District Council Pension Fund; Mason Tenders District Council Annuity Fund; Mason

        Tenders District Council Training Fund; Mason Tenders District Council Health and

       Safety Fund; and Dominick Giammona, in his fiduciary capacity as Funds’

        Contributions/Deficiency Manager, and against Defendant Shelbourne Construction Corp

        in the amounts of:

           a. $361,358.30 in unpaid fringe benefit contributions;

           b. $97,794.98 in prejudgment interest on the unpaid fringe benefit contributions

             ($97,116.21 in pre-judgment interest to December 21, 2020, plus $678.77 in

             Prejudgment interest from December 21, 2020 through January 8, 2021);

           c. $97,794.98 as and for liquidated damages;
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       d. $122,861.82 in imputed audit costs;

       e. $4,429.00 in reasonable attorneys’ fees;

       f. $544.39 in costs;

       g. $27,663.05 in undeducted and/or unremitted dues checkoffs and Political Action

         Committee (“PAC”) contributions; and

       h. $14,355.49 in pre-judgment interest on the undeducted and/or unremitted dues

         checkoffs and PAC contributions ($14,232.73 in prejudgment interest to

         December 21, 2020, plus $122.76 in prejudgment interest from December 21,

         2020 through January 6, 2021 at the rate of $6.82 per day).

  2. In favor of Plaintiffs enjoining Defendant, its agents, representatives, directors, officers,

    stockholders, employees, successors and assigns and all persons in active concert or

    participation with it who receive actual notice of the order by personal service or

    otherwise, from failing, refusing or neglecting to pay and/or submit to the Funds and the

    Mason Tenders District Council of Greater New York the required fringe benefit

    contributions, dues checkoffs, PAC contributions, ERISA contributions, and timely

    submit all required reports in accordance with ERISA, the collective bargaining

    agreements, and the Trust Agreements.

  3. In favor of Plaintiffs directing Defendant to permit and cooperate in an audit of its books

    and records for the period of March 29, 2017 to the date of the audit: accordingly, the case

    is closed.

DATED: New York, New York
       January 8, 2021
                                                      RUBY J. KRAJICK
                                                      __________________
                                                         Clerk of Court

                                                BY: ___________________
                                                        Deputy Clerk
